       Case 3:16-cv-00047-BSM Document 11 Filed 05/17/16 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                     JONESBORO DIVISION

ROBERT HASKETT, and
LAURA HASKETT                                                   PLAINTIFFS

v.                         No. 3:16-cv-47-DPM

GAMMA POWERSPORTS; PETER
RAMSEY, Individually and as the Founder
and Owner of Gamma Powersports; COOL
SPRINGS RIDES, LLC, d/b/a Harley-Davidson
of Cool Springs; AUTOMATIC DISTRIBUTORS;
and JOHN DOES, 1–5, Unknown Defendants                         DEFENDANTS

                                  ORDER

     The Hasketts filed suit more than 90 days ago. The docket shows no

service on Cool Springs Rides. The Court will dismiss the claims against Cool

Springs Rides without prejudice unless the Hasketts show timely service or

seek some other relief by 27 May 2016. FED. R. CIV. P. 4(m).

     So Ordered.

                                         ________________________
                                         D.P. Marshall Jr.
                                         United States District Judge

                                           17 May 2016
